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001-038-00 "\`
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IN THE UNITED sTATEs DISTRICT COURT 051/ag 3 -MO_O
FOR THE WESTERN DISTRICT oF TENNESSEE / 43 8
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‘ sdqu C'!€J,)`
BOBBY TART and wife, LORRETTA TART, ) wtc/fm /`

Individually and ESTATE OF ROBERT WALTER )
TART, by Personal Representatives Bobby Tart and)
Loretta Tal't )
P]aintiff(s)
v. No; 1-05-1056- T/An
JOHN DOES CORRECTIONAL OFFICERS,
.TANE DOES CORRECTIONAL OFFICERS,
BENDELL BARTHOLOMEW, CARROLL
COUNTY SHERIFF, STEPHEN UNDERWOOD, )
CARROLL COUNTY JAILER, TERRY DICKEY, )
CHIEF DEPUTY, TOMMY DECANTES, )
Individually and in their official capacity; and )
CARROLL COUNTY SHERIFF’S OFFICE AND )
)
)

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)
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)

CARROLL COUNTY, TENNESSEE
Defendants

 

ORDER GRANTING MOTION TO CONTINUE TRIAL

 

IT APPEARING to this Honorable Court that Defendants’, Bendell Bartholorncw,
Carroll County, Tennessee, Stephen Underwood, Terry Dickey and Tommy Decantcr, Motion to
Continue Trial is Well taken,

IT IS THEREFORE, ORDERED, ADJUDGED AND DECREED that the currently

scheduled Tiial date of J unc 7, 2006 is continued and Will be ' r

asset-ting
J€;
DATED: wing day of%g, 2005. ;

JUDGE

 

This document entered on the docket sheet ln compliance
with Rute 58 and,'or_79 (a} FRCP on “ '

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 1:05-CV-01056 Was distributed by faX, mail, or direct printing on
July 22, 2005 to the parties listed.

ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

